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                                                               29 August 2022

   The Honorable Aileen Cannon
   United States District Court for the Southern District of Florida
   Paul G. Rogers Federal Building and U.S. Courthouse
   701 Clematis Street
   West Palm Beach, FL 33401

   Re:     Potential Special Masters, Case No. 22-81294-CIV-CANNON

   Dear Judge Cannon:

   In light of the news that you may choose to appoint a Special Master in the above-captioned case
   to address any potential issues of Executive Privilege, I write to respectfully bring four uniquely
   qualified experts in the field to your attention for your consideration. We are not advocating for
   or against the appointment of a Special Master and take no position on that question; we simply
   wish to let you know of their existence and expertise in this exceedingly esoteric corner of the
   law. Each of the below individuals—listed in alphabetical order and with only a current title to
   avoid any suggestion of ranking—is willing to serve as a Special Master should you request it,
   and they are all willing to fully abide by the terms of the appointment.

           •        Heidi Kitrosser, Professor of Law, Northwestern University Pritzker School of
                    Law
           •        Mark J. Rozell, Dean, Schar School of Policy and Government, George Mason
                    University
           •        Jonathan Shaub, Assistant Professor of Law, University of Kentucky Rosenberg
                    College of Law
           •        Mitchel A. Sollenberger, Ph.D., Professor of Political Science, University of
                    Michigan-Dearborn

   I have also attached a curriculum vitae for each person and a copy of an amici curiae brief I
   submitted on their behalf to the U.S. Supreme Court in a previous case involving former
   President Trump’s claims of Executive Privilege. It is this last fact—that these scholars have
   already accumulated and applied specific expertise and knowledge regarding issues surrounding
   a former President’s claims of Executive Privilege in comparable circumstances—that we
   believe uniquely qualifies any of these individuals to ably serve you as a Special Master, should
   you choose to appoint one.
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   I remain at your disposal should you choose to discuss any of this in greater detail.

                                                     Sincerely,




                                                     Kel McClanahan
